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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ANATOLIE STATI; GABRIEL STATI;     )
ASCOM GROUP, S.A.; TERRA RAF TRANS )
TRAIDING LTD.,                     )
                                   )
           Petitioners,            )
                                   )
                                     Civil Action No. 1:14-cv-1638-ABJ
     v.                            )
                                   )
REPUBLIC OF KAZAKHSTAN,            )
                                   )
           Respondent.             )
                                   )

                                             NOTICE

       On July 5, 2017, Respondent the Republic of Kazakhstan (“Kazakhstan”) filed a notice

(ECF 54) advising that on or before July 12, 2017, it intended to file a response to the new,

substantive merits arguments raised in Petitioners’ Response to Kazakhstan’s Notice of

Supplemental Authority (ECF 53). Per the Court’s July 6, 2017 Minute Order, Kazakhstan will

reserve the filing of this response unless otherwise directed by the Court.



DATED: July 12, 2017                                  Respectfully submitted,

                                                      /s/ Matthew H. Kirtland
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